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                                    September 25, 2020

VIA ECF
The Honorable Jesse M. Furman                    Application GRANTED. The Clerk of Court
United States District Judge                     is directed to terminate Doc. #66. SO
Thurgood Marshall                                ORDERED.
United States Courthouse
40 Foley Square
New York, New York 10007

Re:    United States v. Joseph Galdieri, Sr.
       19 Cr. 757 (JMF)
                                                               September 25, 2020
Dear Judge Furman:

       On August 5, 2020, the Court granted Mr Galdieri’s request to travel with his
family to Florida on August 20, 2020. ECF No. 62. Mr. Galdieri had to cancel that trip
and, with the Court’s permission, would now like to reschedule it for October 6, 2020.

      Therefore, I respectfully request that Mr. Galdieri, Sr.’s bail conditions be
temporarily modified to allow him to travel to Florida on October 6, 2020 and return
on October 12, 2020.

                                           Respectfully submitted,

                                          /s/Amy Gallicchio__________
                                          Amy Gallicchio
                                          Assistant Federal Defender
                                          O : (212) 417-8728
                                          M: (917) 612-3274

cc:    AUSA Thomas J. Wright
